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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

WILLIAM CARINI,

       Plaintiff,                                   No. 1:17-cv-8687

v.
                                                    Judge Sarah L. Ellis
JAMES GENTILCORE,

       Defendant.                                   Magistrate Judge Jeffrey Cole


                         DEFENDANT’S UNOPPOSED MOTION TO
                           EXTEND DISCOVERY DEADLINES

       Defendant, James Gentilcore, by and through his attorney, Lisa Madigan, Attorney

General of the State of Illinois, and for his motion to extend discovery deadlines, states the

following:


       1.      On February 13, 2018, this Court entered an order setting the due date for final

MIDP supplementation for August 24, 2018, and setting the close of fact discovery for

September 21, 2018. (Dkt. 15.)

       2.      On August 13, 2018, this matter was reassigned to the undersigned attorney, who

subsequently entered her appearance on behalf of Defendant James Gentilcore on August 15,

2018. (Dkt. 25.) That same day, Mr. Brian Kolp was withdrawn as counsel for Defendant

Gentilcore. (Dkt. 26.)

       3.      Defendant’s counsel anticipates that a second attorney will be assigned to this

case in the beginning of September following her start of employment at the Office of the Illinois

Attorney General.
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       4.      The undersigned attorney needs additional time to investigate this matter and

familiarize herself with the file and therefore requests that the deadline for final MIDP

supplementation be extended up to and including September 7, 2018.

       5.      Defense counsel also anticipates that additional time will be needed to complete

fact discovery in this matter given her recent involvement in the case and the anticipated start

date of co-counsel and accordingly requests that the close of fact discovery be extended up to

and including November 30, 2018.

       6.      Defense counsel has spoken with Mr. Karl Leonard, attorney for Plaintiff, about

extending the deadline for final MIDP supplementation and extending the close of fact discovery

to November 30, 2018. Plaintiff’s counsel had no objections and does not oppose this motion.

       7.      This motion is not filed in bad faith, for purposes of undue delay, or for any other

improper purpose. This motion is the first request for an extension of discovery deadlines.

       WHEREFORE, Defendant respectfully requests that this Honorable Court enter an

order extending the deadline for final supplementation of MIDP to September 7, 2018, and

extending the close of fact discovery to November 30, 2018.


                                                     Respectfully submitted,
LISA MADIGAN
Attorney General of Illinois                           s/ Erin Walsh
                                                     ERIN WALSH
                                                     Assistant Attorney General
                                                     General Law Bureau
                                                     100 West Randolph Street, 13th Floor
                                                     Chicago, Illinois 60601
                                                     (312) 814-6122

                                                     Attorney for Defendant James Gentilcore



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                              CERTIFICATE OF SERVICE


      The undersigned certifies that on August 24, 2018, she electronically filed the foregoing

document with the Clerk of the Court for the United States District Court for the Northern

District of Illinois using the CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system.




                                                                 /s/ Erin Walsh




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